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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


UNITED STATES OF AMERICA


V.                                               Criminal No. 3:10CR248


CHRISTIAN M. ALLMENDINGER,

     Petitioner.


                            MEMORANDUM OPINION


     The matter is before the Court on the United States Court of


Appeals for the Fourth Circuit's remand of the 28 U.S.C. § 2255

motion filed by Christian M. Allmendinger.         By Memorandum Orders

entered on September 18, 2018 and December 18, 2018, the Court

directed the parties to file further briefing on the appropriate

next steps for this proceeding on remand and on which counts should

be vacated.   The parties have complied with that directive.           For

the reasons that follow, the Court will grant the § 2255 motion in

part, vacate Allmendinger's convictions on the money laundering

counts (Counts Eight, Nine, and Eleven), and will set the matter

for a resentencing.


                       I.     PROCEDURAL HISTORY


     A jury convicted Allmendinger of one count of mail fraud

conspiracy (Count One); two counts of mail fraud (Counts Two and

Three); one count of conspiracy to commit money laundering (Count

Eight); two counts of money laundering (Counts Nine and Eleven);
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and one count of securities fraud {Count Fifteen).            (ECF No. 207,

at 1-3.)    On November 9, 2011, the Court entered judgment against

Allmendinger and sentenced him to 540 months of imprisonment.

(Judgement 3, ECF No. 384.)          Allmendinger appealed.       The United

States     Court   of   Appeals    for    the   Fourth   Circuit     affirmed

Allmendinger's     convictions     and    sentence.      United    States   v.

Allmendinger, 706 F.3d 330, 344 (4th Cir. 2013). The Supreme Court

of the United States subsequently denied Allmendinger's petition

for a writ of certiorari.         Allmendinger v. United States, 133 S.

Ct. 2747 (2013).

     Allmendinger then filed a motion pursuant to 28 U.S.C. § 2255.

In that motion, Allmendinger demanded relief because

     Claim One:         "Counsel was ineffective in relying on an
                        invalid defense instead of recommending that
                        Petitioner accept the plea agreement offer of
                        ten years."      (§ 2255 Mot. 5.)

     Claim Two:         "Petitioner       was   denied      the    effective
                        assistance of counsel on appeal."            (Id. at
                        13.)

     Claim Three:       "Counsel failed to preserve for ^ novo review
                        the issue that petitioner's money laundering
                        convictions  are   barred  by   the  'merger
                        problem.'"    (Id. at 18.)

     Claim Four:        "Counsel had a conflict of interest, as co-
                        counsel had applied for employment with the
                        Department  of   Justice at   the           time    of
                        petitioner's trial." (Id. at 19.)




     ^ The Court corrects the capitalization and omits the emphasis
in the quotations from Allmendinger's submissions.
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By Memorandum Opinion and Order entered on February 1, 2017, the

Court denied Allmendinger's motion and denied a certificate of

appealability.    United States v. Allmendinger, No. 3:10CR248, 2017

WL 455553, *1-18 (E.D. Va. Feb. 1, 2017).            The Fourth Circuit,

granted a certificate of appealability solely "on the question of

'whether Allmendinger's appellate counsel rendered ineffective

assistance in failing to present an argument premised on the merger

problem[2] articulated in United States v. Santos, 553 U.S. 507

(2008).'"     United States v. Allmendinger, 894 F.3d 121, 126 (4th

Cir. 2018).      Thus, only Claim Two here was before the Fourth

Circuit.     The Fourth Circuit vacated the judgment of this Court

and remanded the action.        Id. at 131.


                       II.   THE REMEDY ON REMAND


      A.     The Fourth Circuit's Guidance

      The    Fourth   Circuit    found    that   appellate    counsel    was

ineffective for failing to raise the "merger problem" on appeal.

Specifically, it explained:

          Because the merger consisted a 'clearly stronger'
     argument than the issues raised on direct appeal, and
     because appellate counsel does not identify any true


     2 A merger problem occurs "when the illegal activity includes
money transactions to pay for the costs of the illegal activity
[and] the government uses those transactions also to prosecute the
defendant for money laundering.       An individual cannot be convicted
of   money   laundering   for    paying   the    'essential   expenses   of
operating' the underlying crime." United States v. Halstead, 634
F.3d 270, 279 (4th Cir. 2011) (quoting United States v. Santos,
553 U.S. 507, 528 (2008) (Stevens, J., concurring)).
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     strategic rationale for failing to raise merger, we hold
     that appellate counsel's performance was deficient.

          As previously explained, had appellate counsel
     raised the merger problem on appeal, we likely would
     have reversed the money laundering convictions.   See
     Abdulwahab, 715 F.3d at 529-32, 535. Allmendinger has
     established prejudice from his appellate counsel's
     deficient performance.

     For the foregoing reasons, Allemdinger's appellate
     counsel     provided    constitutionally     ineffective
     representation. We vacate the district court's contrary
     order and remand for further proceedings consistent with
     this opinion.

Id. at 130-31 (footnote omitted).

     B.    Which Counts Should Be Vacated?


     In the briefing after remand, Allmendinger said that he had

''requested the Fourth Circuit to grant an out-of-time appeal, or

in the alternative, to vacate the sentences in Counts 8, 9, and 11

and issue judgments of acquittal for those counts."            (ECF No. 552,

at 1-2.)   Allmendinger "contend[ed] that Counts 9, 11, and 8 should

be reversed."    (ECF No. 554, at 4.)^     The Fourth Circuit, of course,

did not do that.       In the previous Memorandum Opinion addressing

Allmendinger's     §     2255   Motion,      the   Court       characterized

Allmendinger's    claims   as   follows:   In   Claim   Two,    Allmendinger

argued that appellate counsel was ineffective for "fail[ing] to

raise the issue that [Allmendinger's] money laundering convictions



     3 Allmendinger uses arabic numbers to specify the counts. The
pleadings actually use words to number the counts. Except where
Allmendinger's papers are quoted, the Memorandum Opinion uses
words for the numbering of the counts.
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[for Counts Nine and Eleven] are barred by the [so-called] ^merger

problem.'"   AlImendinger,    2017   WL   455553,   *13   (alterations   in

original) (quoting (§ 2255 Mot. 13).)

     However, from the Court's review of the parties' briefing on

remand, it was unclear exactly which convictions involving money

laundering the parties believed should be vacated because of the

Fourth Circuit's opinion.      Allmendinger suggested that both the

substantive money laundering convictions (Counts Nine and Eleven)

and the conspiracy to commit money laundering conviction (Count

Eight) should be vacated due to the merger problem.         Allmendinger,

however, advanced neither legal support nor cogent argument to

support that contention.       The Government was silent on whether

Count Eight should also be vacated.

     Accordingly, by Memorandum Order entered on December 18,

2018, the Court directed further briefing on              which counts of

conviction should be vacated.'^ The parties have complied with that

directive.    Allmendinger suggests that this ^^Court should not

vacate individual counts, but rather it should vacate the entire

judgment then reinstate it so that the appeal period may run anew."



     ^ The Court noted that, Allmendinger's failure to advance any
argument or legal support for his contention that the conspiracy
count should be vacated, was "problematic, considering that the
Fourth Circuit held that [Allmendinger's co-conspirator's]
conspiracy to commit money laundering charge was not subject to
reversal under the plain error standard of review under the merger
doctrine."   (ECF No. 555, at 1-2.)
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(Mem. 2, ECF No. 559 (citation omitted).)                    Allendinger cites no

persuasive authority for that position.                   However, as explained in

the    following    section,       the    Court    will    not    vacate    the    entire

judgment.     In response, the Government concedes "[u]pon further

consideration and in an abundance of caution, the United States

asks that the Court vacate all three money laundering counts and

resentence the defendant on the remaining counts.                       (Gov't's Resp.

1, ECF No. 561.)          The Government further explains that it "has

reviewed the record and is not confident of the existence of a

financial transaction that would provide a basis for Count 8 for

Allmendinger, other than the payments to sales agents that merge

with   the   fraud."        (Id.    at 3.)         Because   of    the     Government's

concession,       the   Court      will    vacate    the     convictions        for    the

substantive money laundering counts. Count Nine and Eleven, and

the conviction for conspiracy to commit money laundering. Count

Eight.

       C.    The Appropriate Remedy

       As relief for Claim Two, Allmendinger asserted that "he is

entitled     to    an     out-of-time      appeal."          (§    2255     Mot.      17.)

Allmendinger also advanced that same argument before the Fourth

Circuit,     and    the     Fourth       Circuit     clearly      did     not     provide

Allmendinger that relief.            Allmendinger continues to advance that

argument here, and "requests that the District Court grant leave

to file an out of time appeal by vacating and reinstating the
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criminal judgment to trigger running of a new period to appeal."
(ECF No. 552, at 3.)     However, Allmendinger has provided no legal
authority suggesting that is the appropriate remedy under the

circumstances of this case.        And, because Allmendinger was not
denied the right to appeal his criminal convictions and sentence

in the first instance, a second appeal is neither permitted nor

necessary. As discussed below, the appropriate remedy is to grant

the § 2255 motion in part, vacate Allmendinger's convictions and

sentences for the money laundering counts (Counts Nine and Eleven)

and the conspiracy to commit money laundering count (Count Eight),

and then to conduct a resentencing on Allmendinger's remaining

convictions.


     As pertinent here, the Fourth Circuit has observed that:

     [I]f the prisoner's sentence (and, depending on the
    scope of the prisoner's challenge, perhaps one or more
    of his convictions as well) is set aside, the district
    court "shall" grant the prisoner an "appropriate"
    remedy.    28 U.S.C.A. § 2255.     While "[t]he § 2255 remedy
    is broad and flexible, and entrusts to the courts the
    power to fashion the appropriate remedy," . . . § 2255
    lists the four remedies that are appropriate:        (1)
    "discharge the prisoner," (2) grant [the prisoner] a new
    trial," (3) "resentence [the prisoner]," or (4) "correct
    the  [prisoner's] sentence."            28 U.S.C. § 2255.
    Accordingly, the end result of          a successful § 2255
    proceeding must be the vacatur of the prisoner's
    unlawful sentence (and perhaps one or more of his
    convictions) and one of the following: (1) the
    prisoner's release, (2) the grant of a future new trial
    to the prisoner, (3) or a new sentence, be it imposed by
    (a) a resentencing or (b) a corrected sentence.
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United   States    v.    Hadden,     475   F.3d   652,   661   {4th   Cir.   2007)

(alterations      in    original)     (some   internal     citations    omitted)

(footnote omitted) (citing 28 U.S.C. § 2255).

     Considering the record and the Government's position, the

appropriate remedy is to vacate Counts Eight, Nine, and Eleven and

the corresponding sentences. This remedy meets "the goal of § 2255

review" by placing Allmendinger "in exactly the same position he

would have been had there been no error in the first instance."

Id. at 665; see Abdulwahab, 715 F.3d at 532 (vacating Abdulwahab's

money laundering convictions and remanding for a resentencing)




     ^ As noted above in Part I, Allmendinger was sentenced to a
total of 540 months of imprisonment.       (J. 3.)    That term
"consist[ed] of eighty (80) months on each of Counts 1, 2, 3, 8,
9, and 11 and sixty (60) months on Count 15, all to run
consecutively to each other." (Id. (capitalization corrected).)
"In the case of multiple counts of conviction, the guidelines
instruct that if the total punishment mandated by the guidelines
exceeds the highest statutory maximum, the district court [should]
impose consecutive terms of imprisonment to the extent necessary
to achieve the total punishment."  United States v. White, 238
F.3d 537, 543 (4th Cir. 2001). "Total punishment" is defined as
"the point within the guidelines range designated by the district
court as the appropriate term of imprisonment."                United States v.
Chase,   296   F.3d     247,   251    (4th    Cir.   2002).      Allmendinger's
Sentencing Guidelines range called for life imprisonment.                    (Pre-
Sentence Investigation Report, Wksht. D, at 1.)                   However, the
Court found that a life sentence was "harsher than is necessary in
order to achieve the objectives of the sentencing," (Sept. 27, 211
Tr. 270), and imposed the sentence of 540 months (Sept. 27, 2011
Tr. 274). Therefore, because Allmendinger's total punishment of
540 months exceeded the highest applicable statutory maximum of
240 months, it was necessary and appropriate to impose consecutive
terms of imprisonment to reach the total term of imprisonment that
was imposed (540 months).
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                            III. CONCLUSION

     For    the   foregoing     reasons,     the    Court    will    grant

Allmendinger's § 2255 Motion (EOF No. 491) in part; will vacate
Allmendinger's convictions and sentences for Counts Eight, Nine,
and Eleven; and set the matter for a resentencing on the remaining
counts of conviction.


     The Clerk is directed to send a copy of the Memorandum Opinion
to counsel of record.

     It is so ORDERED.


                                                 /s/
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: February 8, 2019
